 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 1 of 7




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


UNITED STATES OF AMERICA,

        v.                                             CASE NO.: 2:16-cr-12

ANDRE SHORT,

               Defendant.


      ORDER and MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

        This matter comes before the Court on the psychological report of Dr. Allyson N. Wood

and Dr. Geoffrey Grimm regarding Defendant Andre Short’s (“Defendant”) abilities to

understand the nature and consequences of the proceedings against him and to properly assist in

his defense (“the Psychological Report”). (Doc. 600.) Based on the entire record in this case,

including the Psychological Report, Defendant is presently capable of understanding the charges

against him and meaningfully consulting with his attorney about his defense. Therefore, I

RECOMMEND that the Court find that Defendant is competent to stand trial and proceed with

this case.

                                      BACKGROUND

        The United States charged Defendant Short with conspiracy to possess with intent to

distribute controlled substances, in violation of 21 U.S.C. § 846. (Doc. 3.) Counsel for the

Government notified the Court that it reached a plea agreement with Defendant on August 1,

2016. (Doc. 363.) Accordingly, on August 11, 2016, Defendant appeared before the Honorable

Chief Judge Lisa Godbey Wood for a Rule 11, or change of plea, hearing. (Doc. 428.)
 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 2 of 7




       At the change of plea hearing, Defendant answered the Court’s questions in an erratic

manner and requested that he be given additional time to converse with his counsel before

proceeding.   Based upon Defendant’s presentation, Chief Judge Wood declined to accept

Defendant’s plea agreement at that time. Further, Chief Judge Wood allowed Defendant to meet

with his attorney and scheduled the change of plea hearing for a later date. (Doc. 437.)

       Following the change of plea hearing, Defendant’s counsel filed a Motion for Psychiatric

and Psychological Examination. (Doc. 493.) Chief Judge Wood ordered that Defendant be

committed to the custody of the Bureau of Prisons to undergo a competency examination.

(Doc. 505.) In accordance with Chief Judge Wood’s Order, Dr. Allyson N. Wood, a licensed

forensic psychologist, evaluated Defendant at the Federal Detention Center in Lexington,

Kentucky. (Doc. 600.) Dr. Wood employed a number of evaluation procedures to assess

Defendant’s competency and reviewed Defendant’s past mental health records. (Id.) Dr. Wood

then prepared an extensive report of her findings as to Defendant, which was reviewed by Dr.

Geoffrey Grimm, the Chief Psychologist.        (Id.)   In the Psychological Report, Dr. Wood

concluded that Defendant “is not currently suffering from a mental disease or defect rendering

him mentally incompetent to the extent he is unable to understand the nature and consequences

of the proceedings against him or properly assist in his defense.” (Id. at p. 10.) Dr. Wood

explained that Defendant “was able to exhibit and demonstrate sufficient knowledge and

understanding of the charge against him. Further, he demonstrated adequate present ability and

capacity to consult with his attorney.” (Id.) Additionally, Dr. Wood opined “that at the time of

the commission of the acts constituting the alleged offenses, Mr. Short was not suffering from a




                                                2
 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 3 of 7




mental disease or defect such that he was unable to appreciate the nature and quality, or the

wrongfulness, of these actions.” (Id. at p. 13.)

        Following the Psychological Report, Defendant’s counsel notified the Court that

Defendant does not dispute Dr. Wood’s conclusions regarding his competency and sanity.

Despite this agreement, the Court must still determine whether a competency hearing should be

held.

                                           DISCUSSION

        “Unquestionably, due process requires a defendant to be competent to stand trial.”

United States v. Andrews, 469 F.3d 1113, 1117 (7th Cir. 2006) (quoting United States v. Collins,

949 F.3d 921, 924 (7th Cir. 1991)); see also Cooper v. Oklahoma, 517 U.S. 348, 354(1996) (The

Supreme Court has “repeatedly and consistently recognized that the criminal trial of an

incompetent defendant violates due process.”) (internal quotation and citation omitted);

Eddmonds v. Peters, 93 F.3d 1307, 1314 (7th Cir. 1996) (“The Constitution forbids trial of one

who, for whatever reason, is unfit to assist in his own defense because our adversarial system of

justice depends on vigorous defenses.”).

        Incompetency means “suffering from a mental disease or defect rendering [the defendant]

mentally incompetent to the extent that he is unable to understand the nature and consequences

of the proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241(a).

Defendant is not entitled to a presumption of incompetency, and he assumes the burden of proof

to establish his incompetency by a preponderance of the evidence. Cooper, 517 U.S. at 355;

Battle v. United States, 419 F.3d 1292, 1298 (11th Cir. 2005). The legal test for competency is

“whether the defendant ‘has sufficient present ability to consult with his lawyer with a




                                                   3
 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 4 of 7




reasonable degree of rational understanding’ and has ‘a rational as well as factual understanding

of the proceedings against him.’” Godinez v. Moran, 509 U.S. 389, 396 (1993) (quoting Dusky

v. United States, 362 U.S. 402 (1960)); see also United States v. Cruz, 805 F.2d 1464, 1479

(11th Cir. 1986).

       “[N]ot every manifestation of mental illness demonstrates incompetence to stand trial;

rather, the evidence must indicate a present inability to assist counsel or understand the charges.”

Medina v. Singletary, 59 F.3d 1095, 1107 (11th Cir. 1995). Thus, “the mere presence of a

mental disease or defect is not sufficient to render a defendant incompetent[.]” United States v.

Rothman, No. 08-20895-CR, 2010 WL 3259927, at *7 (S.D. Fla. Aug. 18, 2010) (citing United

States v. Liberatore, 856 F. Supp. 358, 360 (N.D. Ohio 1994)). “Incompetency to stand trial is

not defined in terms of mental illness. As such, a defendant can be competent to stand trial

despite being mentally ill and similarly a defendant can be found incompetent to stand trial

without being mentally ill.” United States v. Williams, No. 5:06-cr-36-OC-10GRJ, 2007 WL

1655371, at *5 (M.D. Fla. June 7, 2007) (internal citation and quotation marks omitted).

       After an extensive evaluation, Dr. Wood and Dr. Grimm determined that Defendant

meets the legal standard to proceed with this case and to stand trial. These psychologists reached

this conclusion after conducting numerous tests, observing Defendant, speaking extensively with

Defendant, and reviewing his medical records. There is no credible evidence in the record that

contradicts this finding.    Indeed, while counsel for Defendant requested a psychological

evaluation following Defendant’s erratic behavior and responses at the Rule 11 hearing,

Defendant reported to Dr. Wood that he responded inappropriately during the hearing because he




                                                 4
 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 5 of 7




“was using stuff [he] saw from tv.” (Doc. 600, p. 9.) Further, Defendant now agrees with the

examiner’s opinion.

       The Court should determine that Defendant is competent without holding a competency

hearing. 18 U.S.C. § 4241(a) provides that the Court shall hold a competency hearing “if there is

reasonable cause to believe that the defendant may presently be suffering from a mental disease

or defect rendering him mentally incompetent to the extent that he is unable to understand the

nature and consequences of the proceedings against him or to assist properly in his defense.”

Some defendants have argued that, if a Court orders a competency evaluation pursuant to

18 U.S.C. § 4241(b), a competency hearing is mandatory. However, a court need not hold a

competency hearing if no reasonable question of competency exists after a psychological

evaluation. See United States v. Kerr, 752 F.3d 206, 216 (2d Cir. 2014) (after receiving results

of court-ordered psychological evaluation, trial court was “well within its discretion” to not

conduct hearing on defendant’s competency before accepting defendant’s plea of guilty); United

States v. Gillette, 738 F.3d 63, 77 (3d Cir. 2013) (rejecting defendant’s argument that Section

4241 always contemplates that a competency hearing be held where a court has ordered a

psychological evaluation). In this case, in light of the entire record, the Psychological Report,

and the representations of counsel, no reasonable cause exists to believe that Defendant may

presently be suffering from a mental disease or defect rendering him mentally incompetent.

Thus, the Court need not hold a competency hearing.




                                               5
 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 6 of 7




                                         CONCLUSION

       As Defendant is presently capable of understanding the charges against him and capable

of meaningfully consulting with his attorney about his defense, I RECOMMEND that the Court

find that Defendant is competent to stand trial and proceed with this case.

       The Court ORDERS any party seeking to object to this Report and Recommendation to

file specific written objections within fourteen (14) days of the date on which this Report and

Recommendation is entered. Any objections asserting that the Magistrate Judge failed to address

any contention raised in the Complaint must also be included. Failure to do so will bar any later

challenge or review of the factual findings or legal conclusions of the Magistrate Judge. See 28

U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140 (1985). A copy of the objections must be

served upon all other parties to the action. The filing of objections is not a proper vehicle

through which to make new allegations or present additional evidence.

       Upon receipt of Objections meeting the specificity requirement set out above, a United

States District Judge will make a de novo determination of those portions of the report, proposed

findings, or recommendation to which objection is made and may accept, reject, or modify in

whole or in part, the findings or recommendations made by the Magistrate Judge. Objections not

meeting the specificity requirement set out above will not be considered by a District Judge. A

party may not appeal a Magistrate Judge’s report and recommendation directly to the United

States Court of Appeals for the Eleventh Circuit. Appeals may be made only from a final




                                                 6
 Case 2:16-cr-00012-LGW-BWC Document 635 Filed 02/28/17 Page 7 of 7




judgment entered by or at the direction of a District Judge. The Court DIRECTS the Clerk of

Court to serve a copy of this Report and Recommendation upon the parties.

        SO ORDERED and REPORTED and RECOMMENDED, this 28th day of February,

2017.




                                    R. STAN BAKER
                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




                                              7
